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UNITED sTATEs DISTRICT COURT F“-ED E* W-- '3-6-
wEsTERN DISTRICT oF TENNESSEE y
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LITTLE TYKE'S LEARNING ACADEMY,
et al.,

Plaintiffs,
v. Cv. No. 03-2570-Ma
INSOUTH BANK, et al. ,

Defendants.

J'UDGMENT
Decision. by' Court. This action came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.
IT IS ORDERED AND ADJUDGED that this action is dismissed in

accordance With.the Order Dismissing Complaint Without Prejudice,
docketed May 23, 2005.

.APPR.OV'IE{D%dMA1 2

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

M.q a.s', war ?:GBERT R.DITHSLEG

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This notice confirms a copy cf the document docketed as number 9 in
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Wanda Abioto

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Memphis7 TN 3 8104

Honorable Samuel Mays
US DISTRICT COURT

